Case 3:17-mc-00244-RDI\/| Document 1 Filed 04/14/17 Page 1 of 16

AO 451 (Rev. 12/12) Clerk’s Certif`ication ofa Judgment to be Registered in Another District

 

UNITED STATES DISTRICT CoURT

for the
Eastem District of New York

Securities and Exchange Commission

 

Plal`ntl)§‘”
V

. CivilAction No. 2:17-cv-403-JS-GPB
Ftaymond H. Barton (Kenneth N|anzo)

 

\./\/V\./V

Defendant
CLERK’S CERTlFlCATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

l certify that the attached judgment is a copy of a judgment entered by this court on (dare) 02/02/2017 .

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

   

eaueins§v
APR 13 2017 ~
CLERK OF COURT

__%»/:/ 1

Signature of Clerk or Depzl;C!erk

 

 

base 2:17(;§\§-%€&%)§:@3€#-8§£§4`§§<';\iimgriicihm nnteii 05}i)e2(l1074/ higng 13?§§ gaogje S#; 137

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

SECURITIES AND EXCHANGE COIVHVIISSION,
Plaintiff,
17 Civ. 403 (SJF) (GRB)
v' F l L E D
RAYMCND H' BARTON’ et al" u.s. di`]s$iéi£c;RTKi:So%liii"c§n.N.\t
Defendants. * FEB 02 2017 *

 

 

LONG lSLAND OFF|CE

FINAL JUDGMENT AS TO DEFENDANT KENNETH MANZO

The Securities and Exchange Commission having filed a Complaint and Defendant
Kenneth Manzo having entered a general appearance; consented to the Court’s jurisdiction over
Defendant and the subject matter of this action; consented to entry of this Final Judgment;
waived findings of fact and conclusions of law; and waived any right to appeal from this Final
Judgment; and

Defendant having admitted to the facts set forth in Annex A to the Consent of Kenneth
Manzo, and the Consent of Kenneth Manzo and Annex A being hereby incorporated by
reference with the same force and effect as if fully set forth herein:

I.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the
Secu.rities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

'Case 2:17(-;§/8-30321:%??:?3%9(§§§4_§<E)c'i/imgict)ClLilm?:rilted 05%9291194/%’§1€€7 2 i:))tag§ l§a%felll§ #: 138

interstate commerce, or of the mails, or of any facility of any national securities exchange, in
connection with the purchase or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;

(b) to make any untrue statement of a material fact or to omit to state a material fact
necessary in order to make the statements made, in the light of the circumstances
under which they were made, not misleading; or

(c) to engage in any act, practice, or course of business which operates or would
operate as a fraud or deceit upon any person.

IT lS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
officers, agents, servants, employees, and attomeys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

Il.

I'I` IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933
(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any
means or instruments of transportation or communication in interstate commerce or by use of the
mails, directly or indirectly:

(a) to employ any device, scheme, or artifice to defraud;

(b) to obtain money or property by means of any untrue statement of a material fact

or any omission of a material fact necessary in order to make the statements

Ca ase 3:17-mc-00244-RDI\/| Document 1 Filed 04/14/17 Pa e 4 of1
Case 2:17-cv-OO403-SJF-GRB Document 14 Filed 02/02/17 Page 3 of 5 PagelD #: 139

made, in light of the circumstances under which they were made, not misleading;
or

(c) to engage in any transaction, practice, or course of business which operates or
would operate as a fraud or deceit upon the purchaser.

IT IS FURTHER ORDERED, ADIUDGED, AND DBCREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
officers, agents, servants, employees, and attomeys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

Ill.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
is permanently restrained and enjoined from violating Section 5 of the Securities Act [15 U.S.C.
§ 77e] by, directly or indirectly, in the absence of any applicable exemption:

(a) Unless a registration statement is in effect as to a security, making use of any
means or instnlrnents of transportation or communication in interstate commerce
or of the mails to sell such security through the use or medium of any prospectus
or otherwise;

(b) Unless a registration statement is in eifect as to a security, carrying or causing to
be carried through the mails or in interstate commerce, by any means or
instruments of transportation, any such security for the purpose of sale or for
delivery alter sale; or

(c) Making use of any means or instruments of transportation or communication in

interstate commerce or of the mails to offer to sell or offer to buy through the use

3

' Case 3:17-mc-00244-RDI\/| Document 1 Filed 04/14/17 Page 5 of 16
Case 2:17-c\/-00403-SJF-GRB Document 14 Filed 02/02/17 Page 4 of 15 Page|D #: 140

or medium of any prospectus or otherwise any security, unless a registration
statement has been filed with the Commission as to such security, or while the
registration statement is the subject of a refilsal order or stop order or (prior to the
effective date of the registration statement) any public proceeding or examination
under Section 8 of the Securities Act [15 U.S.C. § 77h].

IT IS FURTHER ORDERED, AD.TUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Pinal Judgrnent by personal service or otherwise: (a) Defendant’s
officers, agents, servants, employees, and attomeys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

IV.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant to Section
21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and Section 20(e) of the Securities Act [15
U.S.C. § 77t(e)]], Defendant is prohibited from acting as an officer or director of any issuer that
has a class of securities registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78u
or that is required to Ele reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C.

§ 780(d)].
V.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
is permanently barred from participating in an offering of penny stock, including engaging in
activities with a broker, dealer, or issuer for purposes of issuing, trading, or inducing or

attempting to induce the purchase or sale of any penny stock. A penny stock is any equity

Case 3:17- mc- -00244- RDI\/| Document 1 Filed 04/14/17 Page 6 of 16
Case 2;17-cv-OO403-SJF-GRB Document 14 Filed 02/02/17 Page 5 of 15 Page|D #: 141

security that has a price of less than five dollars, except as provided in Rule 3351-1 under the
Exchange Act [l7 C.F.R. 240.3a51-l].
Vl.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is
liable for disgorgement of $33,000.00, representing profits gained as a result of the conduct
alleged in the Complaint, together with prejudgment interest thereon in the amount of $2,765.85
and a civil penalty in the amount of $60,000.00 pursuant to Section 21(d)(3) of the Exchange
Act. Defendant shall satisfy this obligation by paying $95,765.85 to the Securities and Exchange
Commission within 14 days after entry of this Final Judgment.

Defendant may transmit payment electronically to the Commission, which will provide
detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly
from a bank account via Pay.gov through the SEC website at
hgp://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank
cashier’s check, or United States postal money order payable to the Securities and Exchange
Commission, which shall be delivered or mailed to

Enterprise Services Center

Accounts Receivable Branch

6500 South MacArthur Boulevard

Oklahoma City, OK 73169
and shall be accompanied by a letter identifying the case title, civil action number, and name of
this Court; Kenneth Manzo as a defendant in this action; and specifying that payment is made
pursuant to this Final Judgment.

Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

, Case 3:17-mc-00244-RDI\/| Document 1 Filed 04/14/17 Pa e 7 of 16
Case 2:17-cV-00403-SJF-GRB Document 14 Filed 02/02/17 Page 6 of 5 PagelD #: 142

Defendant relinquishes all legal and equitable right, title, and interest in such hinds and no part
of the funds shall be returned to Defendant The Commission shall send the funds paid pursuant
to this Final Judgment to the United States Treasury.

The Commission may enforce the Court’s judgment for disgorgement and prejudgment
interest by moving for civil contempt (and/or through other collection procedures authorized by
law) at any time after 14 days following entry of this Final Judgrnent. Defendant shall pay post
judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

VH.

l'I` IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of
exceptions to discharge set forth in Section 523 of the Bankruptcy Code, ll U.S.C. §523, the _
allegations in the complaint are true and admitted by Defendant, and further, any debt for
disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this
Final Judgment or any other judgment, order, consent order, decree or settlement agreement
entered in connection with this proceeding, is a debt for the violation by Defendant of the federal
securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(l9) of the Bankruptcy Code, ll U.S.C. §523(a)(l9).

VIII.

 

Case 3: 17- mc- -00244- RDI\/| Document 1 Filed 04/14/17 Pppe 8 of 16
Case 2:17-c-v 00403- SJF- GRB Document 14 Filed 02 /02/17 Page 7 o 5 PagelD #: 143

lX.
There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.

Dafed= l:'drmam_£s_a.o_l'l 7 /
s/ Sandra] Feuerstein

/ // '
uNrTED srATEs DIsTRIcT JUDGE

case 2;179§€%€4%§:@30#9£§§4'FdoDc'\t/imgriicluzrm rlied ogli)e§hQ/Ml>LS/§Lg a §§W§ Baodceir§ #: 144

UNTTED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

sEcuRmEs AND ExcHANGE coMMrssroN,
Plaincifr,

17 civ. 403 (er=) (GRB)

V.

RAYMOND H. BARTON, et al.,

Defendants.

 

 

CONSENT 0F DEFENDANT KENNETH MANZO

l. Defendant Kenneth Manzo (“Defendant”) waives service of a summons and the
complaint in this action, enters a general appearance, and admits the Com't’s jurisdiction over
Defendant and over the subject matter of this action.

2. Defendant hereby admits the facts contained in Annex A, attached hereto, and the
allegations in the complaint as to personal and subject matter jurisdiction, and consents to the
entry of the Hnal Judgment in the form attached hereto (the “Fina.l Judgment”) and incorporated
by reference herein, which, among other things:

y (a) permanently restrains and enjoins Defendant from violation of Section 5
of the Securities Act of 1933 (the “Securities Act”); Section 17 of the
Securities Act; and Section lO(b) of the Securities Exchange Act of 1934
(the “Exchange Act”) and Rule 10b-5 thereunder;
(b) permanently bars Defendant from participating in an offering of penny
stock, including engaging in activities with a broker, dealer, or issuer for

purposes of issuing, trading, or inducing or attempting to induce the

Case 3: 17- mc- -0-0244 RDI\/| Document 1 Filed 04/14/17 Page 10 of 16
Case 2:17-cv-0-0403~SJF-GRB Document 14 Filed 02/02/17 Page 9 of 15 Page|D #: 145

purchase or sale of any penny stock (A penny stock is'any equity security
that has a price of less than five dollars, except as provided in Rule 3a51-1
under the Exchange Act [17 C.F.R. 240.3a51-l].);

(c) prohibits Defendant from acting as an officer or director of any issuer that
has a class of securities registered pursuant to Section 12 of the Exchange
Act [15 U.S.C. § 781] or that is required to file reports pursuant to Section
15(d) of the Exchange Act [15 U.S.C. § 780(d)];

(d) orders Defendant to pay disgorgement in the amount of $33,000.00, plus
prejudgment interest thereon in the amount of $2,765.85; and

(e) orders Defendant to pay a civil penalty in the amount of $60,000.00 under
Section 21(d)(3) of the Exchange Act.

3. Defendant agrees that he shall not seek or accept, directly or indirectly,
reimbursement or indemnification from any source, including but not limited to payment made
pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays
pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof
are added to a distribution fund or otherwise used for the benefit of investors. Defendant further
agrees that he shall not claim, assert, or apply for a tax deduction or tax credit with regard to any
federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final
Judgment, regardless of whether such penalty amounts or any part thereof are added to a -
distribution fund or otherwise used for the benefit of investors.

4. Defendant waives the entry of findings of fact and conclusions of law pursuant to

Rule 52 of the Federal Rules of Civil Procedure.

. Case 3:17-mc-00244-RD|\/| Document 1 Filed 04/14/17 Pa e 11 of 16
Case 2:17~cv~00403~SJF-GRB Document 14 Filed 02/02/17 Page 10 0 15 PagelD #: 146 '

5. Defendant waives the right, if any, to a jury trial and to appeal from the entry of
the Final Judgment.

6. Defendant enters into this Consent voluntarily and represents that no threats,
offers, promises, or inducements of any kind have been made by the Commission or any
member, officer, employee, agent, or representative of the Commission to induce Defendant to
enter into this Consent.

7. Defendant agrees that this Consent shall be incorporated into the Final Judgment
with the same force and effect as if firlly set forth therein.

8. Defendant will not oppose the enforcement of the Final Judgment on the ground,
if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and
hereby waives any objection based thereon.

9. Defendant waives service of the Final Judgment and agrees that entry of the Final
Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant
of its terms and conditions. Defendant further agrees to provide counsel for the Commission,
within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit
or declaration stating that Defendant has received and read a copy of the Final Judgment.

10. Consistent with 17 C.F.R. 202.5(f), this Consent resolves only the claims asserted
against Defendant in this civil proceeding Defendant acknowledges that no promise or
representation has been made by the Commission or any member, officer, employee, agent, or
representative of the Commission with regard to any criminal liability that may have arisen or
may arise from the facts underlying this action or immunity from any such criminal liability.
Defendant waives any claim of Double Jeopardy based upon the settlement of this proceeding,

including the imposition of any remedy or civil penalty herein. Defendant firrther acknowledges

Case 3: 17- mc- -0-0244 RDI\/| Document 1 Fle| d 40/14/17 Pa e 12 of
Case 2: 17 cv- 0-0403 SJF- GRB Document 14 Filed 02 2/0 e.2/17 Page 11 0915 PagellD #: 147

that the Court’s entry of a permanent injunction may have collateral consequences under federal
or state law and the rules and regulations of self~regulatory organizations, licensing boards, and
other regulatory organizations Such collateral consequences include, but are not limited to, a
statutory disqualification with respect to membership or participation in, or association with a
member of, a self-regulatory organization This statutory disqualification has consequences that
are separate from any sanction imposed in an administrative proceeding In addition, in any
disciplinary proceeding before the Comrnission based on the entry of the injunction in this
action, Defendant understands that he shall not be permitted to contest the factual allegations of
the complaint in this action,

ll. Defendant understands and agrees to comply with the terms of 17 C.F.R.
§ 202.5(e), which provides in part that it is the Commission’s policy “not to permit a defendant
or respondent to consent to a judgment or order that imposes a sanction while denying the
allegations in the complaint or order for proceedings.” As part of Defendant’s agreement to
comply with the terms of Section 202.5(e), Defendant: (i) will not take any action or make or
permit to be made any public statement denying, directly or indirectly, any allegation in the
complaint or creating the impression that the complaint is without factual basis; (ii) will not
make or permit to be made any public statement to the effect that Defendant does not admit the
allegations of the complaint, or that this Consent contains no admission of the allegations; (iii)
upon the filing of this Consent, Defendant hereby withdraws any papers filed in this action to the
extent that they deny any allegation in the complaint; and (iv) stipulates for purposes of
exceptions to discharge set forth in Section 523 of the Bankruptcy Code, ll U.S.C. §523, that the
allegations in the complaint are true, and further, that any debt for disgorgement, prejudgment

interest, civil penalty or other amounts due by Defendant under the Final Judgment or any other

Case 3: 17- mc- -0-0244 RDI\/| Document 1 Fl|ed 04/14/17 Pa e 13 of 16
Case 2:17--cv--00403 SJF GRB Document 14 Fllecl 02/02/17 Page 12 o 15 PagelD #: 148

judgment, order, consent order, decree or settlement agreement entered in connection with this
proceeding, is a debt for the violation by Defendant of the federal securities laws or any
regulation or order issued under such laws, as set forth in Section 523(a)(l9) of the Bankruptcy
Code, ll U.S.C. §523(a)( 19). If Defendant breaches this agreement, the Commission may
petition the Court to vacate the Final Judgment and restore this action to its active docket
Nothing in this paragraph affects Defendant’s: (i) testimonial obligations; or (ii) right to take
legal or factual positions in litigation or other legal proceedings in which the Commission is not
a party.

12. Defendant hereby waives any rights under the Equal Access to Justice Act, the
Small Business Regulatory Enforcement Faimess Act of 1996, or any other provision of law to

' seek fmrn the United States, or any agency, or any official of the United States acting in his or

her official capacity, directly or indirectly, reimbursement of attomey’s fees or other fees,
expenses, or costs expended by Defendant to defend against this action. For these purposes,
Defendant agrees that Defendant is not the prevailing party in this action since the parties have
reached a good faith settlement

13. .Defendant agrees that the Commission may present the Final Judgment to the

Court for signature and entry without further notice.

case 2z15538/3)§430§'-'§§#@8¥§1"b%r'§/llm[@r?tcf$lel§lleij o'§iri§/Pf/Wéij; 1§%$‘§`151$§§§1§) #; 149

14 Defendant ; grass that this Court shall retain jurisdiction over this matter for the

purpose of enforcing the ;. .rns of the Final Judgment

Dat¢d= l?//Soz_l__§ lT/M(l/L\/`

Kenheth Manzo

 

On l~;l " a 2 _M_, ZCi_iQ, _/`gnngl'h t_/\ g QZO , aperson known to me,

personally ap earec. bef:::'..' me and ac mowledged executing the foregoing Consent,

 

Notary Public U
Comlsslon expue§`:OMMONWEALTH OF PENNSVLVAN|A
NOTAR|AL SEAL
Jessiea A. Sovely. Notary Pub!lc
Delaware Twp.. Pike County
My Commlssion Expires Oct. 5. 2019

    

 

Approved as to ft.=lr:t:

%

John E. Lux, Esq.

1629 K Street, S'~..ir'c 306
_Washington, DC 21.=3€-;€-
(202) 780-100L"
Attorney for Defendant

 

case 2:1£€\§-5§45§1§‘£59@§@4'BQMmPrilellmiillleil 05}§£1@>4/¥92{&3 1£’69§515§§€1§ #; 150

ANNEX A
Defendant admits the fact set forth below and acknowledges that his conduct violated the federal
securities laws:
Misrepresentations to the Public

1. Kenneth Manzo (“Manzo”), age 47, resides in Shohola, Pennsylvania. Manzo is a
licensed pharmacist and, from June 2014 until recently, was chief executive officer of Manzo
Pharmaceuticals, Inc. (“Manzo Pharmaceuticals”), a purported developer and manufacturer of
dietary supplements During Manzo’s tenure as chief executive officer, Manzo
Pharmaceuticals’ stock traded on the OTC Pink Open Market.

2. From at least June 2014 through May 2016, Manzo issued at least twelve Manzo
Pharmaceuticals press releases that created the false impression that Manzo Pharmaceuticals was
the exclusive owner of a patent on a probiotic strain that allegedly could treat the symptoms of
lactose intolerance (the “Probiotic Patent”) and was poised to market a product containing that
probiotic strain called “Lacto-Freedom.” Those press releases failed to disclose that the
Probiotic Patent’s co-inventor (the “Co-lnventor”), who was not affiliated with Manzo
Phannaceuticals, owned 50 percent of the Probiotic Patent and had exclusive physical possession
of the probiotic strain.

3. In addition, Manzo issued two false press releases relating to an ongoing Lacto-
Freedom clinical trial. The first press release, issued on February 16, 2016, announced that “[a]ll
of the participants [in the clinical study] were able to eat and drink dairy products with no
symptoms at all just 10-14 days after taking Lacto-FreedomTM for only 7 days. Two-thirds of the '
participants had no symptoms at all for a period of approximately two months after taldng the

probiotic, and one-third of the participants had no symptoms whatsoever well after three

Case 3: 17- mc- -0-0244 RDI\/| Document 1 Fl|ed 04/14/17 Pa e 16 of 16
Case 2117 cv- --00403 SJF- GRB Document 14 Flled 02/02/17 Page 15 o 15 Page|D #: 151

months.” Contrary to the press release, the reported results were not based upon “all of the

participants” in the trial, which still was ongoing, but, rather, upon only three participants ii'om

whom Manzo had obtained those results. 0n March 24, 2016, Manzo issued a press release

restating the misleading information contained in the February 16 press release,
Misrepresentations to Broker-Dealers

4. In connection with other parties’ sales of Manzo Pharrnaceuticals stock, Manzo
misrepresented to various securities brokerage firms that: (a) Raymond Barton (“Barton”) was
not “affiliated” with Manzo Pharmaceuticals; (b) Barton had “not been given access to any
information that has not been previously publicly disseminate ”; and (c) Manzo Pharmaceuticals
was not a current or prior shell company.

Sales of Unregjstered Securities

5. In December 2014, Barton recruited Manzo to sell unregistered shares of
MedGen, lnc. (“MedGen”), a public company with shares trading on the OTC Pink Open
Market, for Barton’s benefit. Barton converted a portion of a MedGen promissory note into 50
million shares of Medgen stock and purported to transfer the shares to Manzo, while retaining an
ownership interest in them.

6. Manzo deposited the 50 million shares in a brokerage account in his name.
Manzo failed to disclose to the broker that Barton had an ongoing ownership interest in the
shares.

7. After depositing the shares, Manzo sold them for over $60,000 and paid Barton

$31,000 out of those funds.

